Case 1:15-cv-07433-LAP Document 1090-47 Filed 07/30/20 Page 1 of 2
      Case 1:15-cv-07433-LAP Document 1090-47 Filed 07/30/20 Page 2 of 2




Dated: July 8, 2016




                                                   By: /s/ Laura A. Menninger
                                                   Laura A. Menninger



                                CERTIFICATE OF SERVICE

       I certify that on July 8, 2016, I electronically served this Declaration Of Laura A.

Menninger In Support Of Reply to Plaintiff’s Opposition to Defendant’s Motion To Reopen

Plaintiff’s Deposition via ECF on the following:


Sigrid S. McCawley                                  Paul G. Cassell
Meredith Schultz                                    383 S. University Street
BOIES, SCHILLER & FLEXNER, LLP                      Salt Lake City, UT 84112
401 East Las Olas Boulevard, Ste. 1200              cassellp@law.utah.edu
Ft. Lauderdale, FL 33301
smccawley@bsfllp.com
mschultz@bsfllp.com
                                                    J. Stanley Pottinger
Bradley J. Edwards                                  49 Twin Lakes Rd.
FARMER, JAFFE, WEISSING, EDWARDS,                   South Salem, NY 10590
FISTOS & LEHRMAN, P.L.                              StanPottinger@aol.com
425 North Andrews Ave., Ste. 2
Ft. Lauderdale, FL 33301
brad@pathtojustice.com
                                                    /s/ Nicole Simmons
                                                    Nicole Simmons




                                                   2
